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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                             CASE No. 5:28-cr-00048-TBR

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.

ZACHARY LAWSON                                                                     DEFENDANT

                         MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendant Zachary Lawson’s (“Lawson”) Motion

for Compassionate Release. [DN 38]. The government has responded. [DN 40]. Lawson has

replied. [DN 41]. As such, this matter is ripe for adjudication. For the reasons that follow, IT IS

HEREBY ORDERED that Lawson’s Motion for Compassionate Release [DN 38] is DENIED.

                                           I. Background

       On October 16, 2018, Lawson was indicted on one count of possession with intent to

distribute methamphetamine and one count of conspiracy to distribute methamphetamine. [DN

10]. September 13, 2018, Lawson received approximately 1.5 pounds of methamphetamine to sell.

[DN 29 at 5]. During a recorded phone call on September 20, 2018, Lawson stated he had not yet

sold the methamphetamine. [Id.] The individual on the call told Lawson to return the

methamphetamine to his source. [Id.] Lawson arrived at the home of his source and unloaded a 5-

gallon bucket from the back and knocked on the door of the home. [Id.] DEA agents answered the

door and placed Lawson under arrest. [Id.] Agents found several baggies containing

methamphetamine in the bucket and $6,170 in Lawson’s pocket. [Id.]

       Lawson pleaded guilty to both counts on May 31, 2019. [DN 22]. He was sentenced to 18

months imprisonment and two years supervised release. [DN 32].

                                         II. Legal Standard
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       “The court may not modify a term of imprisonment once it has been imposed except that-

       (1) in any case—

           (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion of
               the defendant after the defendant has fully exhausted all administrative rights to
               appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
               or the lapse of 30 days from the receipt of such a request by the warden of the
               defendant's facility, whichever is earlier may reduce the term of imprisonment (and
               may impose a term of probation or supervised release with or without conditions
               that does not exceed the unserved portion of the original term of imprisonment),
               after considering the factors set forth in section 3553(a) to the extent that they are
               applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a reduction”

18 U.S.C.A. § 3582(c)(1)(A). “Under the [First Step Act], courts are now permitted to “consider

motions by defendants for compassionate release without a motion” by the BOP Director “so long

as the defendant has asked the Director to bring such a motion and the Director fails to or refuses.”

United States v. Logan, 2020 WL 730879, at *1 (W.D. Ky. Feb. 13, 2020).

       When determining whether to grant compassionate release, courts must analyze the

following factors: (1) whether extraordinary and compelling reasons warrant such a reduction; (2)

the applicable policy statements issued by the Sentencing Commission; and (3) the factors set forth

in 18 § U.S.C. § 3553(a). United States v. Marshall, 2020 WL 114437, * 1 (W.D. Ky. Jan 9, 2020)

(citing 18 U.S.C. 3582(c)(1)(A)).

       First, the Court must determine whether extraordinary and compelling reasons justify a

sentence reduction. Congress has not defined what constitutes an “extraordinary and compelling”

reason; however, it has charg’ed the Sentencing Commission with “describing what should be

considered extraordinary and compelling reasons for sentence reductions, including the criteria to

be applied and a list of specific examples.” United States v. Webster, 2020 WL 618828, at *4 (E.D.

Va. Feb. 10, 2020) (quoting 29 U.S.C. § 994(t)). The Sentencing Commission commentary
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provides that extraordinary and compelling reasons may exist due to the defendant's medical

condition:

       A) Medical Condition of the Defendant.
            (i) The defendant is suffering from a terminal illness (i.e., a serious and advanced
            illness with an end of life trajectory). A specific prognosis of life expectancy (i.e.,
            a probability of death within a specific time period) is not required. Examples
            include metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-
            stage organ disease, and advanced dementia.

              (ii) The defendant is-
                      (I) suffering from a serious physical or medical condition,
                      (II) suffering from a serious functional or cognitive impairment, or
                      (III) experiencing deteriorating physical or mental health because of the
                      aging process, that substantially diminishes the ability of the defendant to
                      provide self-care within the environment of a correctional facility and from
                      which he or she is not expected to recover.

       B) Age of the Defendant. The defendant (i) is at least 65 years old; (ii) is experiencing a
       serious deterioration in physical or mental health because of the aging process; and (iii) has
       served at least 10 years or 75 percent of his or her term of imprisonment, whichever is less.

       (C) Family Circumstances.
              (i) The death or incapacitation of the caregiver of the defendant’s minor child or
              minor children.
              (ii) The incapacitation of the defendant’s spouse or registered partner when the
              defendant would be the only available caregiver for the spouse or registered partner.

       (D) Other Reasons. As determined by the Director of the Bureau of Prisons, there exists in
       the defendant’s case an extraordinary and compelling reason other than, or in combination
       with, the reasons described in subdivisions (A) through (C).

U.S.S.G. 1B1.13.

                                            III. Discussion

A. Exhaustion of Administrative Remedies

       “Federal law has long authorized courts to reduce the sentences of federal prisoners facing

extraordinary health conditions and other serious hardships, but only under very limited

circumstances.” United States v. Beck, ––– F.Supp.3d ––––,2019 WL 2716505, at *4 (M.D.N.C.

June 28, 2019). Under the First Step Act, courts are now permitted to “consider motions by
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defendants for compassionate release without a motion” by the BOP Director “so long as the

defendant has asked the Director to bring such a motion and the Director fails to or refuses.”

Marshall, 2020 WL 114437, at *1 (W.D. Ky. Jan. 9, 2020).

        Here, Lawson has exhausted his administrative remedies. On June 12, 2020 he requested

compassionate release. [DN 38-1]. Lawson received no response from the Warden. He filed this

motion on July 23, 2020—more than 30 days after filing the request. Therefore, he has exhausted

his administrative remedies.

B. Extraordinary and Compelling Reasons

        In support of his motion, Lawson states, the prison is unable to protect inmates from the

virus and he is at an increased risk for severe illness. The government argues Lawson’s reasons

are not extraordinary and compelling.

        Lawson argues he is at a greater risk of severe illness from COVID-19 because he is

overweight and an African American. He states he is 6'0'' and 260 pounds with a body mass index

of 36. The Centers for Disease Control (“CDC”) has found that non-Hispanic Black persons are at

a higher risk of getting COVID-19 or experiencing severe illness.1 The CDC has also found those

that are overweight—a body mass index of 30 or higher—are at an increased risk.2 Lawson is

currently being housed at Marion USP. Marion has had 144 positive cases and two inmates have

died.3 Lawson states he did contract COVID-19 on July 22, 2020 but did not provide any medical

evidence supporting that statement. Although Marion has had a large number of cases, there are




1
   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/racial-ethnic-minorities.html.
2
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html.
3
  https://www.bop.gov/coronavirus/; https://www.wpsdlocal6.com/news/second-inmate-dies-after-testing-positive-
for-covid-19-at-usp-marion/article_571ace56-d8cc-11ea-bd79-3f17c59c9b74.html.
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currently only 3 inmates and 8 staff members with the virus.4 At this time, there is no uncontrolled

outbreak.

           In United States v. Knight, Knight was 5'11'' and weighed 315 pounds with a body mass

index of 43.9. 2020 WL 3055987, * 3 (E.D. Mich. June 9, 2020). Knight had no other risk factors.

FCI Elkton, where Knight was housed, had over four hundred inmates test positive. Id. Knight’s

bunkmate was one of the inmates that tested positive. Id. However, the Court found Knight’s body

mass index did not constitute extraordinary and compelling reasons for release. Id. The Court

further found the conditions at FCI Elkton had improved despite the early outbreak. Id.

           The Court finds the same to be true in Lawson’s case. He does not argue he suffers from

any medical conditions or is on any medication. His weight and race are not extraordinary and

compelling reasons for release. Further, Marion USP is reporting much lower active numbers.

Lawson has presented generalized fears about contracting the virus potentially for the second time.

Even though his race would make him more susceptible to suffering a serious illness from the

virus, that and his generalized fear are not enough to warrant release. See Boyer v. United States,

2020 WL 1978190, at *2 (D. Mass. Apr. 24, 2020) (“Defendant’s generalized and systemic

concern regarding the virulent pandemic is insufficient to qualify as a circumstance making this

application exceptional and deserving of special treatment.”).

           Lawson has provided evidence of completion of the Drug Abuse Education, Parenting,

Financial Peace University, and Exit Strategy courses. [DN 38-1 at PageID 186-189]. Lawson also

has not had any discipline history in the last six months. [Id. at PageID 181]. He has shown a true

desire to improve himself in preparation for his release. However, “rehabilitation is specifically

excluded as an independent basis for compassionate release.” United States v. Wieber, 2020 WL



4
    https://www.bop.gov/coronavirus/
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1492907 *3 (W.D. Ky. March 27, 2020). His mother and ex-wife have also written letters stating

how much they depend on Lawson and how he is needed by his family. The Court recognizes the

hardship his family faces without him. However, these reasons do not meet the extraordinary and

compelling reasons as stated in U.S.S.G. 1B1.13(C). The Court applauds all the actions Lawson

has taken, but he is not eligible for release and his motion must fail.

                                            IV. Conclusion

       For the above state reasons, IT IS HEREBY ORDERED that Lawson’s Motion for

Compassionate Relase [DN 38] is DENIED.

       IT IS SO ORDERED.




                                                                          October 2, 2020




cc: Zachary Lawson
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    PRO SE
